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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                        )      Chapter 13
                                              )
MILLARD COURTNEY FARMER, JR.,                 )      Case No. 18-52363
                                              )
                Debtor.                       )      Judge Cavender
                                              )


 NOTICE OF HEARING ON MOTION TO ENFORCE SETTLEMENT AGREEMENT

       PLEASE TAKE NOTICE that on February 26, 2019, John H. Murphy filed a motion to
enforce settlement agreement and related papers with the court seeking an order enforcing the
settlement agreement.

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion
to enforce settlement agreement in Courtroom 1203, United States Courthouse, 75 Ted Turner
Drive, SW, Atlanta, Georgia, at 10:00 A.M. on March 12, 2019.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.
S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also
mail a copy of your response to the undersigned at the address stated below.

         Dated: February 26, 2019.
                                              /s/ Colin M. Bernardino
                                             Colin M. Bernardino, Esq. (GA Bar No. 054879)
                                             KILPATRICK TOWNSEND & STOCKTON LLP
                                             1100 Peachtree Street, Suite 2800
                                             Atlanta, Georgia 30309
                                             Telephone: (404) 815-6500
                                             Facsimile: (404) 815-6555
                                             Email: cbernardino@kilpatricktownsend.com

                                             Counsel for John H. Murphy




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                        )      Chapter 13
                                              )
MILLARD COURTNEY FARMER, JR.,                 )      Case No. 18-52363
                                              )
                Debtor.                       )      Judge Cavender
                                              )

                    MOTION TO ENFORCE SETTLEMENT AGREEMENT

         COMES NOW John H. Murphy (“Murphy”), and files this motion to enforce that certain

settlement agreement entered by Murphy and the Debtor on September 18, 2018 in connection

with a mediation conducted by the Honorable Paul W. Bonapfel (the “Motion”). In support of

the Motion, Murphy respectfully represents as follows:

                                        BACKGROUND

         1.     On January 26, 2018, Murphy obtained a judgment against the Debtor because the

Debtor was found by a federal court jury to have violated Georgia’s RICO statute. See Murphy

v. Farmer, Civil Action No. 3:15-cv-92 (N.D. Ga.) (the “RICO Action”).1

         2.     On February 9, 2018 (the “Petition Date”), the Debtor filed his voluntary petition

under chapter 13 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the Northern District of Georgia.

         3.     On March 8, 2018, the Debtor filed his proposed chapter 13 plan (the “Plan”)

[ECF No. 20].

         4.     On May 29, 2018, Murphy filed his Objection to Confirmation [ECF No. 32].

The Debtor has not amended the proposed Plan. Despite the passage of almost one year since


1
  On April 19, 2018, Murphy filed a proof of claim based on his judgment and attorneys’ fees
incurred in the RICO Action.


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the Debtor filed the proposed Plan, the Plan remains pending, unconfirmed, and is not

confirmable.

        5.      On June 20, 2018, the Debtor and Murphy, seeking a consensual resolution to

their disputes, filed a Joint Motion Requesting Mediation (the “Mediation Motion”) [ECF No.

45]. This Court granted the Mediation Motion shortly thereafter in its Order Authorizing and

Directing Mediation of Disputes Among Parties the (the “Mediation Order”) [ECF No. 48].

        6.      The Debtor and Murphy, after engaging in a productive mediation session (the

“Mediation”) conducted by the Honorable Paul W. Bonapfel, reached an agreement and

subsequently signed a settlement term sheet on September 18, 2018 (the “Settlement

Agreement”), attached hereto as Exhibit A. As expressed in the Settlement Agreement, the

Debtor agreed to pay Murphy or Murphy’s counsel $450,000 no later than April 2, 2019 (the

“Settlement Payment”) and to amend the Plan. The Settlement Agreement provides that the

Debtor’s failure to pay Murphy entitles Murphy or Murphy’s counsel to record a Quitclaim deed

for the Debtor’s house (the “Property”), the principal asset of the Debtor’s estate. In reliance

upon the Settlement Agreement entered by the Parties, Murphy’s counsel prepared the form of

Quitclaim deed and provided it to Debtor’s counsel. In doing so, Murphy’s counsel expended

meaningful resources. A true and correct copy of the form of Quitclaim deed is attached hereto

as Exhibit B (the “Quitclaim Deed”).

        7.      To date, the Debtor has failed to take any of the steps required by the Settlement

Agreement, including executing the Quitclaim Deed or amending his proposed Plan.

Furthermore, on December 7, 2018, Debtor’s bankruptcy counsel, Jones & Walden, LLC, filed a

request to withdraw their representation of the Debtor [ECF No. 54].




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        8.      During a hearing on January 15, 2019, Debtor’s litigation counsel2 stated that the

Debtor was still considering whether to honor his obligations under the Settlement Agreement.

More than a month has passed since the hearing and almost six months have passed since the

Mediation/Settlement Agreement, but the Debtor has yet to take any actions to satisfy his

obligations under Settlement Agreement.3 There is no reasonable basis to believe that the Debtor

will be able to make the Settlement Payment on April 2nd (assuming the Debtor intends to pay

Murphy). The Court should (i) order the Debtor to deliver the signed Quitclaim Deed to

Murphy; and (ii) authorize Murphy to record the Quitclaim Deed and foreclose upon the

Property if the Debtor does make the Settlement Payment by April 2, 2019. If the Debtor does

not honor the Settlement Agreement and is unwilling to make the Settlement Payment and

provide the executed Quitclaim Deed, the Debtor cannot be allowed to continue in Chapter 13,

and a fiduciary must be appointed to protect the Debtor’s creditors.

                                         DISCUSSION

        9.      Judge Hagenau recently granted a motion to enforce a settlement agreement based

on an e-mail exchange between the attorneys and the preparation of a settlement agreement that

the debtor had not signed. In re Stewart, No. 17-53793-WLH, 2018 WL 6436273 (Bankr. N.D.

Ga. Dec. 6, 2018). “The construction of settlement contracts is governed by the state law

applicable to contracts in general.” 2018 WL 6436273, at *2 (quoting Hopson v. Hopson (In re

Hopson), 216 B.R. 297, 301 (Bankr. N.D. Ga. 1997)). In Stewart, as in this case, “Georgia law


2
   On April 3, 2018, the Court approved the Debtor’s retention of Ralph Goldberg as special
litigation counsel. [ECF No. 24]. Although Jones & Walden, LLC has withdrawn from its
representation of the Debtor, to the extent Mr. Goldberg purports to represent the Debtor as
replacement bankruptcy counsel, Mr. Goldberg’s expanded role has not been approved by the
Court.
3
 Upon information and belief, the Debtor may have listed The Property for sale. However, the
Debtor has not sought approval from the Court of any sale or sale procedures.

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governs both whether there was a settlement agreement and the construction of any alleged

settlement agreement.” Id. (quoting Hopson, 216 B.R. at 301).

        10.     Even where a settlement agreement must be in writing, “letters or documents

prepared by the attorneys which memorialize the terms of the agreement will suffice.” Id.

(quoting Hopkins, 216 B.R. at 301); see also Johnson v. DeKalb County, 314 Ga. App. 790, 793,

726 S.E.2d 102, 105-06 (2012) (noting that while settlement “ideally” will consist of a “formal

written agreement signed by the parties,’ “letters or documents prepared by attorneys which

memorialize the terms of the settlement reached will suffice”) (quoting Pourreza v. Teal

Appraisals, 273 Ga. App. 880, 882-83, 616 S.E.2d 108, 111 (2005)); Capitol Materials, Inc. v.

Kellogg & Kimsey, Inc., 242 Ga. App. 584, 587, 530 S.E.2d 488, 491 (2000) (same).

        11.     That the parties may have anticipated entering a more formal document does not

negate the enforceability of the written agreement they did reach. Stewart, 2018 WL 6436273, at

*4 (“When the parties intend to memorialize with a formal document an agreement that they

have already reached, ... the execution of the document is not an act necessary to the creation of

an enforceable contract.”) (internal quotation marks and citation omitted). Rather, courts will

enforce the existing written agreement to avoid the unfortunately but not unusual circumstances

“where an agreement as to terms was clearly made and then someone changed his mind and no

longer wanted to settle the case.” Capitol Materials, 242 Ga. App. at 587, 530 S.E.2d at 492; see

also Johnson, 314 Ga. App. at 794-95, 726 S.E.2d at 106 (same, quoting Pourreza, 273 Ga. App.

at 883, 616 S.E.2d at 111).

        12.     Here, there is no question that the Debtor had competent counsel to represent his

interests during the Mediation. At the Mediation, the Debtor, a licensed and practicing member

of the State Bar of Georgia, was present, participated and was well represented by experienced



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counsel. Specifically, Jones & Walden, LLC, the Debtors’ bankruptcy counsel, participated in

the Mediation and executed the Settlement Agreement on behalf of the Debtor. In addition, the

Debtor’s Litigation Counsel, Mr. Goldberg, appeared at the Mediation, actively represented the

Debtor, and advised him regarding the Settlement Agreement.

        13.     The breadth, depth, and detail of the Settlement Agreement make clear that there

was a “meeting of the minds” between the Debtor and Murphy. See Stewart, 2018 WL 6436273,

at *5 (finding a “complete meeting of the minds” and enforcing settlement agreement). The

Settlement Agreement provides, among other things, that: (i) the Settlement Payment is due on

April 2, 2019; (ii) failure to make the Settlement Payment entitles Murphy to file the Quitclaim

Deed; (iii) mutual releases to be exchanged upon receipt of the Settlement Payment or the

recording of the Quitclaim Deed; (iv) Murphy would not bring further bar complaints; and

(v) the RICO Action would be dismissed after the Settlement Payment was made or the

Quitclaim Deed was recorded. The Settlement Agreement is also specific as to its requirement

that the Debtor amend his chapter 13 plan to provide, among other things, (a) that the Debtor will

not file an additional case for six months; (b) direct payments from the Debtor to Murphy;

(c) that the Debtor will not incur any other debt; and (d) that the Debtor will maintain the

Property in similar or better condition than at present. As the Settlement Agreement therefore

decides present, future, and practical issues, it should be considered a “meeting of the minds”

between the Debtor and Murphy, and should be enforced.4




4
 The Court in Stewart found there was a binding settlement based only on a simple email which
set forth little more than payment terms and a remedy if there was a default. See id., 2018 WL
6436273 at *2. Similarly, the Johnson court found the existence of a settlement based on little
more than an email exchange that was supposed to be memorialized later in a formal settlement
agreement. See 314 Ga. App. at 793-94, 725 S.E.2d at 105-06. The Settlement Agreement is far
more detailed than either of the agreements found to exist in Stewart and Johnson.

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        14.     Although Murphy’s preference is enforcement of the binding Settlement

Agreement, conversion may be necessary so that a fiduciary can administer the Debtor’s estate

and stop the Debtor’s delay. Section 1307 of the Bankruptcy Code provides that “the court may

convert a case under this chapter to a case under chapter 7 of this title . . . for cause.” 11 U.S.C.

§ 1307(c) (emphasis added). The definition of “cause” is not limited, and includes “unreasonable

delay by the debtor that is prejudicial to creditors[.]” 11 U.S.C. § 1307(c)(1). If the Debtor fails

to honor the Settlement Agreement, the Court should find that “cause” exists to convert this case

to one under Chapter 7. Murphy agreed to mediate with the Debtor in good faith and with an

expectation that the Debtor would honor any agreement reached in the mediation. At best, the

Debtor appears to have changed his mind. Alternatively, the Debtor never intended to follow

through with his obligations under the Settlement Agreement. In either event, if the Court is

unwilling to enforce the Settlement Agreement as preferred by Murphy, the Court should find

that the Debtor’s conduct constitutes cause to convert.

        15.     Furthermore, the Debtor has engaged in “unreasonable” delay “prejudicial to

creditors” in at least two key ways:        (i) failing to seek Court approval of the Settlement

Agreement      and   the    transactions   contemplated   therein   for   six   months   since   the

Mediation/Settlement Agreement; and (ii) failing to confirm a plan a year into his chapter 13

case.5 As a result, it would appear that the Debtor has no intention of paying Murphy or any

other creditors, and cause exists to convert the Debtor’s case if the Debtor will not honor his

obligations under the Settlement Agreement.




5
 As set forth in Murphy’s objection to confirmation of the Debtor’s Plan, the Debtor’s current
Plan is not confirmable.

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                                        CONCLUSION

        For all the reasons stated above, this Court should enter the proposed order enforcing the

Settlement Agreement as set forth in Exhibit C, or, alternatively, convert this case to a case

under chapter 7 of the Bankruptcy Code.

Dated: February 26, 2019


                                             Respectfully submitted,


                                              /s/ Colin M. Bernardino
                                             Colin M. Bernardino, Esq. (GA Bar No. 054879)
                                             KILPATRICK TOWNSEND & STOCKTON LLP
                                             1100 Peachtree Street, Suite 2800
                                             Atlanta, Georgia 30309
                                             Telephone: (404) 815-6500
                                             Facsimile: (404) 815-6555
                                             Email: cbernardino@kilpatricktownsend.com

                                             Counsel for John H. Murphy




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                                   EXHIBIT A

                               Settlement Agreement
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                                    EXHIBIT B

                                  Quitclaim Deed
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Parcel ID No.:
15-209-04-227

                                      Space Above For Recorder’s Use

AFTER RECORDING RETURN TO:
Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street, Suite 2800
Atlanta, Georgia 30309
Attention: William R. Poplin, Jr., Esq.

                                          QUITCLAIM DEED

STATE OF GEORGIA

COUNTY OF DEKALB

        THIS INDENTURE is made this _______ day of _____________________, 201_, by and
between MILLARD C. FARMER (a/k/a MILLARD FARMER) (“Grantor”), hereinafter called
“Grantor”, and KILPATRICK TOWNSEND & STOCKTON LLP, hereinafter called “Grantee”.
The words “Grantor” and “Grantee” include the neuter, masculine and feminine genders, and the singular
and the plural.

                                          W I T N E S S E T H:

         FOR AND IN CONSIDERATION of the sum of Ten Dollars ($10.00) in hand paid to Grantor
by Grantee at and before the execution, sealing and delivery hereof, and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, Grantor has remised,
released, conveyed and forever quitclaimed, and by these presents does remise, release, convey and
forever quitclaim unto Grantee, and the heirs, successors, legal representatives and assigns of Grantee, all
of right, title, claim, demand and interest which the Grantor has or may have in and to that tract or parcel
of land being described on Exhibit “A”, attached hereto and incorporated herein by reference (the
“Property”).

        TOGETHER WITH all the rights, members, and appurtenances to and improvements on the
said described Property in anywise appertaining or belonging.




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        TO HAVE AND TO HOLD the Property in order that neither Grantor nor any person claiming
under Grantor shall at any time by any means or ways have, claim or demand any title or interest in or to
the Property or any of the rights, members and appurtenances thereof.

        IN WITNESS WHEREOF, Grantor has executed and sealed this indenture, and delivered this
indenture to Grantee, all the day and year first written above.

                                                   GRANTOR:
Signed, sealed and delivered
in the presence of:

                                                                                (SEAL)
                                                   MILLARD C. FARMER (a/k/a MILLARD
Unofficial Witness                                 FARMER)



Notary Public
My Commission Expires:



        (NOTARIAL SEAL)




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                                           EXHIBIT “A”

                                       LEGAL DESCRIPTION

All that tract or parcel of land lying and being in Land Lot 209 of the 15th District of DeKalb County,
Georgia, and being more particularly described as follows:

BEGINNING AT A POINT on the northern side of DeKalb Avenue 89 feet west of the northwest corner
of DeKalb Avenue and Josephine Street, and running thence North 190.5 feet to Lot 75; thence West 40.3
feet to the Hightower Property; thence South along the Hightower Property line 210.2 feet to DeKalb
Avenue; thence northeasterly along the northern side of DeKalb Avenue 44.8 feet to the POINT OF
BEGINNING; said tact being known as Lot 1 of the S.T. Weyman Subdivision as per plat recorded in
DeKalb County, Georgia.

LESS AND EXCEPT that portion of the above described property conveyed by David M. Elkins to State
Highway Department of Georgia by deed dated December 20, 1957, recorded in Deed Book 1320, Page
25, DeKalb County records.

This being the improved property known as No. 1196 DeKalb Avenue, N.E. according to the present
system of numbering houses in DeKalb County, Georgia.




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                                    EXHIBIT C

                      Order Enforcing Settlement Agreement




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                       |     CASE NO. 18-52363-JWC
                                             |
Millard Courtney Farmer, Jr.,                |     CHAPTER 13
                                             |
                Debtor.                      |
                                             |


                    ORDER ENFORCING SETTLEMENT AGREEMENT

         Upon the Motion to Enforce Settlement Agreement (the “Motion”) and for good cause

shown, it is hereby ORDERED as follows:

         1.     Debtor is hereby bound by the terms of the Settlement Agreement which is hereby

approved.1

         2.     Debtor must make the Settlement Payment as contemplated by the Settlement

Agreement by April 2, 2019.


1
  Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to
them in the Motion.


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        3.      Within seven (7) days of the entry of this Order, the Debtor must deliver to

Murphy’s counsel an executed Quitclaim Deed.

        4.      In the event that the Debtor does not make the Settlement Payment by April 2,

2019, the automatic stay is lifted to allow Murphy, or his counsel, to record the Quitclaim Deed

against the Property and take any other steps necessary to enforce the Quitclaim Deed, including

foreclosure, without further order from this Court. Murphy, or his counsel, is authorized to

satisfy his claim against the Debtor from the Property and to take any other steps authorized by

the Settlement Agreement.

        5.      If the Debtor does not make the Settlement Payment by April 2, 2019 and does

not execute and deliver the executed Quitclaim Deed as set forth in paragraph 3 herein, Murphy

may file a notice with the Court informing the Court that the Debtor has not made the Settlement

Payment by April 2, 2019 and has not delivered the executed Quitclaim Deed. Upon the filing of

such notice, the Court shall enter an order immediately converting the Debtor’s case to a case

under chapter 7 of the Bankruptcy Code.

        6.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.



                                        END DOCUMENT




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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 In re:                                           )
                                                  )     Chapter 13
 MILLARD COURTNEY FARMER, JR.,                    )
                                                  )     Case No. 18-52363-JWC
                  Debtor.                         )
                                                  )

                                     CERTIFICATE OF SERVICE

          I hereby certify that on February 26, 2019, a true and exact copy of the (1) NOTICE OF

HEARING ON MOTION TO ENFORCE SETTLEMENT AGREEMENT and (2)

MOTION TO ENFORCE SETTLEMENT AGREEMENT was filed electronically with the

Clerk of the Court using the CM/ECF system, which in turn will send notification of such filing

to all interested parties of record.

          I further certify that on February 26, 2019, a true and correct copy of the (1) NOTICE

OF HEARING ON MOTION TO ENFORCE SETTLEMENT AGREEMENT and (2)

MOTION TO ENFORCE SETTLEMENT AGREEMENT was served upon the parties listed

below, via First Class Mail, postage prepaid.

 Ralph Goldberg                                       Nancy J. Whaley
 Goldberg & Cuvillier, P.C.                           Standing Chapter 13 Trustee
 Suite 100                                            Suite 120
 1400 Montreal Road                                   303 Peachtree Center Avenue
 Tucker, GA 30084                                     Atlanta, GA 30303

 Nan Freeman                                          Millard Courtney Farmer, Jr.
 c/o Ken Gordon, Esquire                              1196 Dekalb Ave
 P.O. Box 1088                                        Atlanta, GA 30307
 Lagrange, GA 30241

 Wilmer Parker                                        Resurgent Capital Services
 Maloy Jenkins Parker                                 P.O. Box 10587
 1360 Peachtree Stree, NE, Suite 910                  Greenville, SC 29603-0587
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Atlanta, GA 30309

City of Atlanta                                DeKalb County Tax Commissioner
Office of Revenue                              4380 Memorial Drive, Suite 100
55 Trinity Ave, Suite 1350                     Decatur, GA 30032
Atlanta, GA 30303

LVNV Funding, LLC its successors and           Wilmer Parker
assigns as assignee of Citibank, N.A.          Suite 910
Resurgent Capital Services                     1360 Peachtree Street
PO Box 10587                                   Atlanta, Ga. 30309
Greenville, SC 29603


Dated: February 26, 2019            Respectfully submitted,

                                    /s/ Colin M. Bernardino
                                    Colin M. Bernardino, Esq.
                                    KILPATRICK TOWNSEND & STOCKTON LLP
                                    1100 Peachtree Street, Suite 2800
                                    Atlanta, Georgia 30309
                                    Telephone: (404) 815-6500
                                    Facsimile: (404) 815-6555
                                    Email: cbernardino@kilpatricktownsend.com

                                    Counsel for John H. Murphy




                                           2
